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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION


      UNITED STATES OF AMERICA

                     v.                                      CASE NO. 8:06-cr-508-T-23MAP

      BIBI SHANAZ LALL
      ________________________/

                               REPORT AND RECOMMENDATION

             Lall, a bank manager of a small bank, moves to suppress two post-Miranda

      statements she made about her bank’s robbery to two separate agencies almost two

      months apart (doc. 19). She gives these reasons for suppressing her admissions:

      Hillsborough County deputies coerced her first admissions by threats and promises of

      leniency, this illegality tainted her later admissions to the FBI after this indictment’s

      return, and the FBI illegally interrogated her after her state public defender invoked her

      right to remain silent and to counsel in a pleading filed in her state action. With the

      benefit of an evidentiary hearing, and having carefully reviewed the video of her first

      interrogation, I find Lall voluntarily waived her Miranda rights on both occasions and

      that her will was not “overborne by the circumstances surrounding the giving” of her

      statements. See Dickerson v United States, 530 U.S. 428, 434 (2000). Accordingly, I

      recommend the district judge deny her motion to suppress.1

             A. Facts

             A lone black male entered the Trustco Bank in Apollo Beach, Florida on the



             1
                The district judge referred this matter to me for a report and recommendation
      (doc. 20). See 28 U.S.C. § 636 and Local Rule 6.01(b).
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      afternoon of October 21, 2006. Armed with a firearm, the robber approached Lall and

      instructed her to take him to the vault area, where the bank’s only other employee (a

      teller) was located. The robber demanded the teller empty his drawer into a gym bag.

      Next, the robber made the teller lie down in the ATM room, tied his hands with a necktie,

      and shut the door. A few minutes later, Lall entered the ATM room, removed the

      surveillance tape from the video monitor, and again shut the door. About five minutes

      later, the teller heard a door slam. He looked at a video monitor but did not see the

      robber. Freeing himself, the teller found Lall in the vault area, who told him to sound the

      panic alarm. The robber, who the government claims is Paul Anthony Graham, Lall’s

      codefendant, made off with more than $125,000.

                      1. Lall’s first admissions

             Lall’s initial statements about the crime and the peculiar circumstances of the

      robbery (Lall claimed the robber sexually assaulted her before leaving), puzzled

      investigators. This prompted them to ask Lall to take a polygraph examination. Two

      days after the robbery, Hillsborough County Sheriff’s Detective Bruce Metzger and FBI

      Special Agent William Woodson visited Lall at her Bradenton home and approached her

      about taking the exam. She agreed, and in a separate car accompanied by her victim

      advocate, met Metzger later that day at the Sheriff’s operation center in Ybor City.2

             At the outset, the polygraph examiner (Detective Sandra Streator) reviewed two




             2
                 Due to the alleged sexual assault, Lall had been assigned a victim advocate.

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      forms with Lall.3 One advised Lall of her Miranda rights and specifically advised Lall

      she was “not under arrest” and was “free to leave this office at any time during this

      interview.” The other memorialized her free and voluntary consent to the exam,

      explained the subject matter to be covered (“Trustco Bank Robbery on 1/21/06”), and

      briefly detailed her current mental status and educational background (both forms are

      included in government ex. #1). Lall signed both and then submitted to the exam. When

      asked if she knew who robbed the bank and if she planned with anyone to rob the bank,

      Lall answered “no.” Streator interpreted these as deceptive responses.

             At this juncture, Detective Metzger entered the exam room and along with

      Streator questioned Lall. Lall repeatedly denied any participation in the robbery or

      knowledge of the robber’s identity. After about an hour and fifty minutes, Lall asked to

      talk to a family friend. The detectives refused her request. She then admitted she had an

      affair with an individual named Robo, that she knew Robo’s associate (Graham) would

      rob the bank, and that if she did not cooperate Robo would tell her husband. Fearful, and

      particularly concerned about losing her children because to the affair, she went along

      with the robbery.

             Armed with her statements, state authorities charged Lall with two counts of

      being an accessory after the fact. On October 24, a public defender was appointed to her

      case and quickly filed a “Notice of Defendant’s Invocation of Constitutional Rights.”

      This document expressed Lall’s desire to remain silent and exercise her right to counsel



             3
              The Hillsborough County Sheriff’s Office recorded these events and the
      subsequent interrogation. See government’s ex. 5.

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      when confronted with any future custodial interrogation by either “local, State or Federal

      police or prosecution personnel (including jail inmates acting at the request or direction

      of such personnel).” See government ex. #7.

                     2. Lall’s second admissions

             On December 12, 2006, a federal grand jury returned the instant indictment

      accusing Lall and Graham with armed bank robbery in violation of 18 U.S.C. § 2113(a)

      and (d) and 2 (doc. 1).4 The state, in turn, dismissed its charges. On December 19, Lall,

      escorted by family members, turned herself into the FBI’s Tampa office as prearranged

      the day before. FBI Special Agent Woodson explained to Lall she would be making an

      initial appearance before a magistrate judge and would be seen by Pretrial Services. He

      also informed her that her truthful cooperation would benefit her. Lall agreed, and after

      being advised of her Miranda rights and signing a written consent to be interviewed

      (government ex. #3), she told agents of her involvement in the robbery and Graham’s

      blackmail efforts (see FBI 302 at government ex. #4).

             B. Discussion

             Determining if a confession is voluntary requires examining “‘whether a

      defendant’s will was overborne’ by the circumstances surrounding the giving of a

      confession.” Dickerson v. United States, 530 U.S. 428, 434 (2000) citing Schenckloth v.

      Bustamonte, 412 U.S. 218, 226 (1973). This necessitates evaluating “‘the totality of the

      circumstances – both the characteristics of the accused and the details of the



             4
               Graham is charged in count two with using a firearm in relation to a crime of
      violence per 18 U.S.C. § 924(c).

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      interrogation.’” Id. The focus is the “crucial element of police overreaching.” Colorado

      v. Connelly, 479 U.S. 157, 163 (1986). “Absent police conduct causally related to the

      confession, there is simply no basis for concluding that any state actor has deprived a

      criminal defendant of due process.” Id. at 164. Conduct reaching this threshold

      confession usually involves subjecting an accused to an exhaustingly long interrogation,

      applying physical force or threatening it, or the making of a promise that induces a

      confession. United States v. Thompson, 422 F.3d 1285, 1295-96 (11th Cir. 2005).

      Isolated instances of deception, or unrealistic predictions of penalties for cooperative and

      non-cooperative defendants, are normally insufficient to preclude free choice. United

      States v. Jones, 32 F.3d 1512, 1517 (11th Cir. 1994). Furthermore, the Supreme Court

      has observed that “cases in which a defendant can make a colorable argument that a self-

      incriminating statement was ‘compelled’ despite the fact that the law enforcement

      authorities adhered to the dictates of Miranda are rare.” Dickerson, 530 U.S. at 444,

      quoting Berkemer v. McCarty, 468 U.S. 420, 433, n. 20 (1984).

                     1. Lall’s statements to detectives

             Against this framework, Lall says she finally confessed because the two

      detectives, but principally Meztger, threatened to “take away her kids,” made “unrealistic

      predictions” of probation or less, and insinuated that if she did not cooperate promptly

      she would be turned over to the federal authorities for prosecution, a much more ominous

      consequence than a state prosecution. To support her claims, she points to various

      comments Metzger made. Yet, Metzger’s conduct, particularly when its evaluated in the

      context of the entire interrogation, fails to breach that “rare” level of police overreaching


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      needed in post-Miranda scenarios. Instead, Lall’s decision to abandon her denials are

      more “the product of a free and deliberate choice rather than intimidation, coercion, or

      deception.” Colorado v. Connelly, 479 U.S. at 170. Lall’s testimony at the suppression

      hearing confirms this conclusion.

             Lall is not uneducated. She graduated from high school, then attended a trade

      school for a year and a half, and held a supervisory position at her place of employment.

      During the interview, until she admits her knowledge of the robbery, she remains

      remarkably composed. Although she testified at the suppression hearing that she “cried

      the whole time,” her recorded interrogation shows none of this. In short, I find her

      testimony unbelievable. Only when she changed her account did she show any emotion.

      Just as importantly, and she does not argue otherwise, Lall concedes voluntarily waiving

      her Miranda rights at the outset of the interview. Aware of those rights, Lall neither

      terminated the interview nor asked for a lawyer despite the detectives’ persistent appeals

      to her emotions and reason. Unquestionably, she hoped to keep her bank job by

      persuading the investigators she knew nothing about the robber.

             Rather than coercion and deception as Lall now claims, a careful review of the

      interrogation reveals the detectives’ use of psychological pressure and reasoning to

      persuade her “to tell the truth.” The two employed more than a dozen themes common to

      police interrogations: we know you are lying and the polygraph proves it; we have a job

      to do and have no personal animosity against you; we want to help you; we will find out

      the truth anyway and if we don’t, the FBI with all their resources will; we empathize with

      human frailties and understand the potential motives for committing the offense (debt,


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      lifestyle needs, other unknown reasons); your being involved does not mean you are a

      bad person; the truth will set you free; save the rest of your life; do the right thing; think

      of your children; be a role model for your children; think about the consequences to you,

      your family, and particularly your children when you are in prison; now is the chance to

      correct your mistakes; life will be better for you if you cooperate; this crime may not be

      as bad as you think (a property crime or embezzlement as opposed to a robbery); and do

      not put us in the position of referring your case for federal prosecution because the result

      will be harsher that any state prosecution. None of these pleas, either individually or

      collectively, attains that “rare” level of police overreaching so as to be “offensive to a

      civilized system of justice that they must be condemned.” Dickerson, 530 U.S. at 444;

      Colorado v. Connelly, 479 U.S. at 163.

             Lall particularly objects to the detectives’ play on her emotions as a mother

      complaining Metzger threatened she could lose custody of her children, a “legally

      unrealistic” proposition under the circumstances (doc. 19 at p. 8). And she argues the

      Supreme Court condemned this very tactic in the pre-Miranda decision of Lynumn v.

      State of Illinois, 372 U.S. 528 (1963). But Lynum’s facts are materially distinguishable

      from Lall’s experience. In Lynumn, the police directly threatened the defendant with the

      removal of her children.

             Three Chicago police officers arrested James Zeno for unlawful possession of

      narcotics. He cooperated and contacted his source, Beatrice Lynum. When she

      approached Zeno, the police officers arrested her and then questioned her about her

      source of supply in Zeno’s presence. At one point, the interrogating officer told Lynumn


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      “[she] could get 10 years and the children could be taken away, and after [she] got out

      they would be taken away and strangers would have them, and if [she would] cooperate

      he would see they weren’t … and [she] had better do what they told them if [she] wanted

      to see her kids again.” Id. at 531. Lynumn, who said her confession was false, stated the

      only reason she confessed was “the hope of saving herself from jail and being taken away

      from my children.” Id. at 532. The police did not deny her account. The Court

      suppressed Lynum’s statements finding that “a confession made under such

      circumstances must be deemed not voluntary, but coerced.” Id. at 534.

             In contrast, Metzger took a less direct approach. And while some of his

      comments are inappropriate, when viewed in balance with the context of the entire

      interview, they are not so objectionable as to reach the constitutional disapprobation of

      Lynumn. See United States v. Jones, 32 F.3d 1512, 1517 (11th Cir. 1994) (tactic used by

      police – unless defendant explained the participation of his girlfriend they would

      continue to consider her a suspect – not considered a threat); see also McCalvin v.

      Yukins, 444 F.3d 713 (6th Cir. 2006) (officer’s statement that defendant would not have

      contact with her family materially contrasted with Lynumn’s facts, particularly given that

      defendant made statements after Miranda warnings); United States v, Abfalter, 340 F.3d

      652, 653 (8th Cir. 2003) (police never attempted to threaten defendant with placing his

      children in foster care because in the context of the statements by the police the

      comments about foster care were not threats). Indeed, Lall showed no reaction to any of

      Metzger’s statements; instead, she remained calm sitting comfortably with her hands

      often clasped on her torso.


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             The following excerpts (together with their times) cover Lall’s objections to

      Metzger’s tactics. Curiously, Lall never asks Metzger or Streator questions in response

      to these comments. Nor does she invoke her right to counsel, to remain silent, or to

      terminate the interview. Rather, she either says nothing or succinctly denies lying to the

      detectives.

             I just have a job to do and I am trying to do it professionally. I have
             nothing against you personally and I am not here to judge you. I do not
             think poorly of you. To be honest with you, until now I never met you
             before. When this is all over I want the best for you. .... Do you think it
             makes me feel good to send people to prison for years. It doesn’t. I walk
             away scratching my head. Did I do the right thing? This person is never
             going to see his kids. They made a mistake.

             government’s ex. #5 at 2:05.

             For me the goal is to find out the truth. And if there is way to help you I would
             like to know what that way is. But I know one thing. If you lie and we get
             evidence and go to a jury trial and you lose you are going to get sentenced to
             prison. And then you won’t see the kids and you have got a four year old. And I
             know about that because I was in child abuse investigator dealing with DCF. In
             fact I went to a Termination of Parental Rights hearing just recently on somebody
             that is going to prison for twenty-five years. Not only are they in prison for the
             twenty-five years, but now because their parental rights are terminated they can’t
             have visitation with the kid. The bio mother cannot bring them. Because without
             that termination of parental rights she would have to bring them, but now she
             can’t. So he will not see the kids for the next twenty-five years. I do not recall
             old you are, but this guy is about thirty-seven. So he can see his kids in his early
             sixties. And to be honest with you, I feel like the guy made a mistake. You
             know, he wanted to stick to his baloney story versus the evidence that was
             developed. And like I said. This is not going to go away just because you walk
             out that room right now. And that shouldn’t be your goal. And I know some
             people make their goal making out of this room without telling the truth. When
             the goal should be to tell us the truth right now so that we can wrap this up.

             Id. at 2:06.

             No you didn’t [responding to Lall’s statement that she had answered the
             polygraph questions truthfully]. You didn’t and see you keep going back
             to that. No you didn’t, you lied. You lied on the question. You did. She

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              [Streator] has been doing this a long time. She does polygraphs every
              single day. Every day. You lied on the test. You lied. You failed it.
              This is why I trying to talk sense to you. This is the time. This is the
              chance to tell us what really happened in the bank. If the money is not
              recoverable – fine. Fine, it is not recoverable. We will do what we can to
              get it back if we can. If not, fine, what are you going to get. You will get
              some restitution against you. But you still need to cooperate. Don’t you
              want ... I am telling you ... do you think you want to spend one night
              without your kids. One night – try 15 years. And try sitting there and
              having the State of Florida take your kids away or worse the federal
              government. Because the FBI stays in it after today. Because tomorrow
              morning when I get on the phone with him [SA Woodson], it’s back on.

              Id. at 2:30.

              I think what you are afraid of more than anything at this point is you are
              going to be embarrassed and not afraid of the real things you should be
              afraid of which is going to state prison and having your children taken
              away from you and not be able to see them except for weekends. Have
              your mom come in, have your four year old come in and tell you what
              happened at school – this month – instead of sitting at dinner and saying
              what happened today. It’s real. That’s real, not what is going on in your
              head. I am going to get away with it. I am going to get away with it.

              Id. at 2:37.

              In the main, Meztger’s comments only foretold what Lall likely knew. If

       convicted, she could go to prison. She would then be separated from her family and her

       children. On the other hand, if she told detectives about her affair, her husband would

       discover her unfaithfulness. That too would bear consequences. About a half hour after

       the last excerpt, Lall abruptly and tearfully admitted she knew about the robbery. But

       unlike the defendant in Lynum who unequivocally stated she only confessed to keep her

       children, Lall equivocated about her motives. On cross-examination at the suppression

       hearing, she conceded she had not been truthful with the detectives at the outset because

       she feared losing her children if her husband learned about her affair – her exact


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       motivation for not warning about the robbery beforehand.

              Lall’s other complaints about Metzger’s conduct also fail. Admittedly, some of

       his comments were unrealistic, either as to the potential charges or the eventual outcome

       if she did or did not cooperate. He painted a harsh portrait of federal prosecution and

       sentencing. Yet, taken as whole, Metzger’s actions are not much different than those in

       Jones, a case in which the Eleventh Circuit affirmed the denial of a motion to suppress by

       the defendant on similar complaints. See 32 F.3d at 1516-17. In sum, I conclude Lall

       freely, rationally, and voluntarily chose to admit her involvement to the two detectives.

       Id.

                      2.   Lall’s statements to the FBI

              Lall does not strenuously maintain Special Agent Woodson threatened her or

       promised her leniency, and to the extent that she argues that the agent did this I do not

       find her account credible. Woodson accommodated Lall by allowing her to surrender at

       his office as agreed. Nothing about his interview, aside from circumstances incumbent

       with any surrender to a serious charge, smacked of coercion, intimidation, or improper

       influence. Her principal contention here is that her “inadmissible statements” to the

       detectives tainted her later statements to the FBI. See Wong Sun v. United States, 371

       U.S. 471, 485-86 (1963). Obviously, for the reasons outlined, this argument is

       unavailing.

              Besides, even assuming Lall’s initial statements were inadmissible, this would not

       mean her confession to the FBI almost two months later would automatically be

       inadmissible. As the government notes, courts look at a variety of factors for deciding if


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       the later statements should be suppressed: did the objectionable conditions of the first

       confession persist into the second; the break in time between the two; whether the

       defendant received Miranda warnings; and other relevant factors. See Watson v.

       DeTella, 122 F.3d 450, 455 (7th Cir. 1997); United States v. Marenghi, 109 F.3d 28, 33

       (1st Cir. 1997). Frankly, as the government argues, all these factors coalesce in its favor.

       The first confession, even if one were to arguably accept Lall’s constitutional objections,

       did not impermissibly taint the second.

              Lastly, Lall argues SA Woodson obtained her statements in violation of her Sixth

       Amendment rights to counsel. Namely, her public defender filed an Edwards notice in

       her state case telling all, including federal investigators, she intended to remain silent and

       invoke her right to counsel. Edwards v. Arizona, 451 U.S. 477 (1981). This claim is

       without merit. First, the Supreme Court has stated that Sixth Amendment right to

       counsel is offense specific and cannot be invoked once for all future prosecutions.

       McNeil v. Wisconsin, 501 U.S. 171, 175 (1991). Just as importantly, Lall’s state and her

       federal charges, although pertaining to the same criminal episode, are separate offenses

       for Sixth Amendment purposes. The reason is that each prosecution involves separate

       sovereigns. In short, Lall’s state invocation of her right to counsel did not carry over to

       any later federal prosecution. See United States v. Coker, 433 F.3d 39 (1st Cir. 2005)

       (involving similar argument in the context of a state and federal arson prosecutions);

       United States v. Avants, 278 F.3d 510 (5th Cir. 2002) (same but for state and federal

       murder charges).       C. Conclusion

              For the reasons stated, it is


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              RECOMMENDED:

              1. That the Defendant Bibi Lall’s motion to suppress statements (doc. 19) be

       DENIED.

              IT IS SO REPORTED at Tampa, Florida on April 30, 2007.



                                       NOTICE TO PARTIES

               Failure to file and serve written objections to the proposed findings and
       recommendations contained in this report within ten (10) days from the date it is served
       on the parties shall bar an aggrieved party from a de novo determination by the District
       Court of issues covered in the report, and shall bar the party from attaching on appeal
       factual findings in the report accepted or adopted on appeal by the District Court except
       upon grounds of plain error or manifest injustice. 28 U.S.C. § 636(b)(1)(C); Local Rule
       6.02; Nettles v. Wainwright, 677 F.2d 404 (5th Cir. 1982)(en banc).

       cc:    Hon. Steven D. Merryday
              Plaintiff Counsel
              Defense Counsel




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